Case 1:22-cv-08478-VSB Document 40-7 Filed 02/20/23 Page 1 of 8




               Exhibit G
                Case 1:22-cv-08478-VSB Document 40-7 Filed 02/20/23 Page 2 of 8



                                           2020 Pat. App. LEXIS 7834
                                                 Patent Trial and Appeal Board
                                                     May 13, 2020, Decided
                         Appeal 2019-007020         Application 15/294,272       Technology Center 3600

USPTO Bd of Patent Appeals & Interferences; Patent                                  Trial & Appeal Bd Decs.

Reporter
2020 Pat. App. LEXIS 7834 *



    Ex parte PRAVEEN JAYACHANDRAN

Notice:

 [*1] ROUTINE OPINION. Pursuant to the Patent Trial and Appeal Board Standard Operating Procedure 2, the
opinion below has been designated a routine opinion.

Core Terms

blockchain, abstract idea, recite, invent, technology, conventional, processor, patent, revise, monitor, additional
element, generic, routine, practical application, subject matter, current assets, patent-eligible, lapse, has, log,
human activity, well-understood, update, memory, prong

Panel:     Before ERIC B. GRIMES, RACHEL H. TOWNSEND, and JAMIE T. WISZ, Administrative Patent Judges.

Opinion By:       JAMIE T. WISZ

Opinion


WISZ, Administrative Patent Judge.

 DECISION ON APPEAL

 STATEMENT OF THE CASE

 Pursuant to 35 U.S.C. § 134(a), Appellant 1 seeks review of claims 1-20. We have jurisdiction under 35 U.S.C. §
6(b).

 For the reasons set forth below, we AFFIRM.

 CLAIMED SUBJECT MATTER




1 We use the word "Appellant" to refer to "applicant" as defined in 37 C.F.R. § 1.42. Appellant identifies the real party in interest

as International Business Machines Corporation. Appeal Br. 3.
              Case 1:22-cv-08478-VSB Document 40-7 Filed 02/20/23 Page 3 of 8
                                                                                                        Page 2 of 7
                                           2020 Pat. App. LEXIS 7834, *1

  The Specification describes "identifying asset states, linking assets to blockchain transactions and tracking assets
in the blockchain, and more particularly . . . keeping a record of asset changes and related information in the
blockchain for reference and planning of transactions." Spec. P 1.

 Claims 1, 8, and 15 are independent claims. Claim 1 is illustrative and is set forth below (annotated with bracketed
numbers for reference to the limitations in the claim):
     1. A method implemented by a processor executing computer program instructions stored in memory,
    comprising:

            [1] logging a transaction on a blockchain, by the processor;        [2] linking one or more assets to the
         transaction, by the processor; [3] recording, by the processor, a current asset state on the blockchain of
         the one [*2] or more assets responsive to linking the one or more assets to the transaction;              [4]
         determining, by the processor, that one or more parties to the blockchain transaction has requirement
         criteria associated with the current asset state; and       [5] monitoring the current asset state, by the
         processor, to identify whether a lapse in the requirement criteria has occurred.


 Appeal Br. 42 (Claims Appendix). Independent claim 8 recites an apparatus comprising a processor configured to
perform the recited steps and independent claim 15 recites a "non-transitory computer-readable storage medium"
configured to store instructions to cause a processor to perform these steps. Id. at 43, 45.

 REJECTIONS

 The Examiner rejected claims 1-20 under 35 U.S.C. § 101 as being directed to patent-ineligible subject matter.

 I. PRINCIPLES OF LAW

 A. Section 101

 An invention is patent-eligible if it claims a "new and useful process, machine, manufacture, or composition of
matter." 35 U.S.C. § 101. However, the U.S. Supreme Court has long interpreted 35 U.S.C. § 101 to include
implicit exceptions: "[l]aws of nature, natural phenomena, and abstract ideas" are not patentable. E.g., Alice Corp.
v. CLS Bank Int'l, 573 U.S. 208, 216 (2014).

  In determining whether a claim falls within an excluded category, [*3] we are guided by the Court's two-part
framework, described in Mayo and Alice. Id. at 217-18 (citing Mayo Collaborative Servs. v. Prometheus Labs.,
Inc., 566 U.S. 66, 75-77 (2012)). In accordance with that framework, we first determine whether the claim recites an
abstract idea. See Alice, 573 U.S. at 219 ("On their face, the claims before us are drawn to the concept of
intermediated settlement, i.e., the use of a third party to mitigate settlement risk."); see also Bilski v. Kappos, 561
U.S. 593, 611 (2010) ("Claims 1 and 4 in petitioners' application explain the basic concept of hedging, or protecting
against risk.").

 Concepts determined to be abstract ideas, and thus patent ineligible, include certain methods of organizing human
activity, such as fundamental economic practices ( Alice, 573 U.S. at 219-20;             Bilski, 561 U.S. at 611);
mathematical formulas ( Parker v. Flook, 437 U.S. 584, 594-95 (1978)); and mental processes ( Gottschalk v.
Benson, 409 U.S. 63, 67 (1972)). Concepts that recite abstract ideas, but are nonetheless determined to be patent
eligible, include physical and chemical processes, such as "molding rubber products" ( Diamond v. Diehr, 450 U.S.
175, 191 (1981)); "tanning, dyeing, making waterproof cloth, vulcanizing India rubber, smelting ores" ( id. at 182 n.7
(quoting Corning v. Burden, 56 U.S. 252, 267-68 (1853))); and manufacturing flour ( Benson, 409 U.S. at 69
(citing Cochrane v. Deener, 94 U.S. 780, 785 (1876))).

  If the claim is "directed to" an abstract idea, we turn to the second part of the Alice and Mayo framework, where
"we must examine the elements of the claim to determine whether it contains an 'inventive concept' sufficient to
'transform' the claimed abstract idea into a patent-eligible application." Alice, 573 U.S. at 221 (quotation marks
omitted). "A claim that recites an abstract idea must include 'additional features' to ensure 'that the [claim] is more
                Case 1:22-cv-08478-VSB Document 40-7 Filed 02/20/23 Page 4 of 8
                                                                                                                    Page 3 of 7
                                                2020 Pat. App. LEXIS 7834, *3

than a drafting effort designed to monopolize the [abstract idea].'" Id. (alterations in original) (quoting Mayo, 566
U.S. at 77). "[M]erely requir[ing] generic computer [*4] implementation[] fail[s] to transform that abstract idea into a
patent-eligible invention." Id.

 B. USPTO Section 101 Guidance

 In January 2019, the U.S. Patent and Trademark Office (USPTO) published revised guidance on the application of
§ 101. 2019 Revised Patent Subject Matter Eligibility Guidance, 84 Fed. Reg. 50 (Jan. 7, 2019) ("2019 Revised
Guidance"). 2 "All USPTO personnel are, as a matter of internal agency management, expected to follow the
guidance." Id. at 51; see also October 2019 Update at 1.

 Under the 2019 Revised Guidance and the October 2019 Update, we first look to whether the claim recites:
      (1) any judicial exceptions, including certain groupings of abstract ideas (i.e., mathematical concepts, certain
     methods of organizing human activity such as a fundamental economic practice, or mental processes) ("Step
     2A, Prong One"); and

      (2) additional elements that integrate the judicial exception into a practical application (                  see MPEP §
     2106.05(a)-(c), (e)-(h) (9th ed. Rev. 08.2017, Jan. 2018)) ("Step 2A, Prong Two"). 3



 2019 Revised Guidance, 84 Fed. Reg. at 52-55.

 Only if a claim (1) recites a judicial exception and (2) does not integrate that exception into a practical application,
do we then look, under Step 2B, to whether the claim:

       (3) adds a specific limitation beyond the judicial exception that is not "well-understood, routine, conventional"
     in the field ( see MPEP § 2106.05(d)); or
      (4) simply appends well-understood, routine, conventional activities previously known to the industry,
     specified at a high level of generality, to the judicial exception ("Step 2B").


 2019 Revised Guidance, 84 Fed. Reg. at 52-56.

 II. ANALYSIS

 Applying the Revised Guidance to the facts on this record, we find that claims 1-20 are directed to patent-ineligible
subject matter.

  Claim 1 is directed to a method of logging and monitoring transactions on a blockchain. Following the first step of
the Mayo/Alice analysis, we find that the claim is directed to a "process," and therefore falls into one of the broad
statutory categories of patent-eligible subject matter under 35 U.S.C. § 101. We thus proceed to Step 2A, Prong
One, of the Eligibility Guidance.

 A. Guidance Step 2A, Prong 1




2 The Office issued further guidance on October 17, 2019. USPTO, October 2019 Update: Subject Matter Eligibility (the
"October 2019 Update") (available at https://www.uspto.gov/sites/default/files/documents/peg_oct_2019_update.pdf).

3 This evaluation is performed by (a) identifying whether there are any additional elements recited in the claim beyond the judicial

exception, and (b) evaluating those additional elements individually and in combination to determine whether the claim as a
whole integrates the [*5] exception into a practical application. See 2019 Revised Guidance - Section III(A)(2), 84 Fed. Reg.
54-55.
               Case 1:22-cv-08478-VSB Document 40-7 Filed 02/20/23 Page 5 of 8
                                                                                                             Page 4 of 7
                                             2020 Pat. App. LEXIS 7834, *5

 The Revised Guidance instructs us first to [*6] determine whether any judicial exception to patent eligibility is
recited in the claim. The Revised Guidance identifies three judicially-excepted groupings classified by the courts as
abstract ideas: (1) mathematical concepts, (2) certain methods of organizing human activity such as fundamental
economic practices, and (3) mental processes.

  The Examiner finds that "[o]ther than the recitation of a processor, there is nothing in the claim that precludes the
recited steps from practically being performed by the human mind" and, therefore, the claims recite a mental
process. Final Act. 3. The Examiner further finds that the claims recite "a series of steps monitoring assets involved
in a transaction where the assets are recorded in a blockchain which represents an accounting of transactions that
occur between parties involved in a peer to peer network," which is a fundamental economic practice, which falls
under certain methods of organizing human activity. Ans. 3.

  We agree with the Examiner that claim 1 recites a judicial exception. More specifically, claim 1, reproduced above,
recites a method implemented by a processor executing computer program instructions stored in a memory [*7]
comprising the steps of: [1] "logging a transaction on a blockchain," [2] "linking one or more assets to the
transaction," [3] "recording . . . a current asset state on the blockchain . . ." [4] "determining . . . that one or more
parties to the blockchain transaction has requirement criteria associated with the current asset state," and [5]
"monitoring the current asset state . . . ." Appeal Br. 42. Under the broadest reasonable interpretation, limitations [1]
through [5] recite fundamental economic practices.

 Appellant argues that "the claimed invention cannot reasonably be construed to be a process that can be
performed mentally." Reply 4. Appellant further asserts that "blockchain technology is far removed from taking
already existing human activities and merely digitizing them via software to run on a generic computer." Id. at 5.

  Regardless of whether the invention can be performed mentally, we find that the claim does recite fundamental
economic practices; i.e., monitoring transactions that occur on a blockchain. The Specification describes that
"transactions on the blockchain are usually related to a purchase or sale of goods or assets" and that "[t]he assets
are therefore part [*8] of the blockchain transaction even though the transactions may not specify the asset data."
Spec. P 2. The Specification further describes that "there is a need for entities or individuals, such as buyers,
sellers, producers, consumers, etc., to have preferences with regard to assets which are bought or sold." Id. Such
preferences, or "requirement criteria," may include "a product rating, product compliance measure, certification,
etc." Id. P 20. Therefore, claim 1 recites logging and monitoring an economic transaction involving assets and
identifying whether preferences regarding an asset have lapsed. Accordingly, we find that the steps of claim 1 recite
a fundamental economic practice, which corresponds to the judicial exception of a method of organizing human
activity.

 B. Guidance Step 2A, Prong 2

  Having determined that the claims recite a judicial exception, we next consider whether the claims integrate the
judicial exception into a practical application. "[I]ntegration into a practical application" requires that the claim recite
an additional element or a combination of elements, that when considered individually or in combination, "apply,
rely on, or use the judicial exception in a manner that imposes a meaningful limit on the judicial exception, such that
the claim is more than a drafting effort designed to monopolize the judicial exception." 2019 Revised Guidance, 84
Fed. Reg. at 54.

  Appellant asserts that the claimed invention integrates the alleged abstract idea into a practical application. Appeal
Br. 33. Specifically, Appellant asserts that "the claimed invention is directed to tracking asset states in a blockchain
and determining whether certain requirement criteria are met in this blockchain, or whether they have lapsed" and
further asserts that:

     [T]hese features represent at least an additional element that reflects an improvement in the functioning of a
    computer, or an improvement to another technology or technical field, and furthermore, apply or use the
    alleged judicial exception in some other meaningful way beyond generally linking the use of the alleged judicial
               Case 1:22-cv-08478-VSB Document 40-7 Filed 02/20/23 Page 6 of 8
                                                                                                           Page 5 of 7
                                            2020 Pat. App. LEXIS 7834, *8

    exception to a particular [*9] technological environment, such that the claim as a whole is more than a drafting
    effort designed to monopolize the alleged exception.


 Id. Appellant also contends that, "[t]he claimed invention provides a novel approach for monitoring blockchain
asset states and determining whether they have lapsed." Id.

  We are not persuaded by Appellant's arguments. We agree with the Examiner that "the claims here merely use a
general purpose computer as a tool for logging a transaction, linking assets to the transaction and monitoring the
current asset state" and that "[t]here is no claimed improvement to the technology of linking assets to the
transaction." Ans. 3-4. We also agree with the Examiner that "there is no recitation of how the assets are linked to
the transaction in the [S]pecification" and "the recitation of the blockchain occurs at a very high level." Id. at 4.
While the claimed invention adds additional information to the blockchain (e.g., an asset state and requirement
criteria), Appellant has not persuasively shown that this additional information actually changes the manner in which
the blockchain itself works. Therefore, we do not find that the claims provide an improvement to the blockchain
technology.

  Accordingly, we find that there is no practical integration of the abstract idea. Other than the limitations directed to
the abstract idea, discussed above, the remaining element is directed to a processor, which is a generic computer
element that does not recite a specific data structure. For this reason, this element is distinguishable [*10] from
Enfish, LLC v. Microsoft Corp., 822 F.3d 1327, 1337 (Fed. Cir. 2016) in which the claims were found to be an
improvement to conventional databases.

  As explained in McRO, Inc. v. Bandai Namco Games Am. Inc., 837 F.3d 1299, 1314 (Fed. Cir. 2016), the
"abstract idea exception has been applied to prevent patenting of claims that abstractly cover results where 'it
matters not by what process or machinery the result is accomplished.' [ O'Reilly v. Morse, 56 U.S. 62, 113 (1853)];
see also Mayo, 132 S.Ct. at 1301." McRO stated that therefore, a court must "look to whether the claims in these
patents focus on a specific means or method that improves the relevant technology or are instead directed to a
result or effect that itself is the abstract idea and merely invoke generic processes and machinery." McRO, 837
F.3d at 1314. Here, the invention is claimed at a very high level of generality without integrating the abstract ideas
into a practical application because Appellant did not explain sufficiently why the claims provide an additional
element, outside the abstract idea, that improves the technology or technical field.

 Therefore, on this record, we conclude that the judicial exception in Appellant's claims is not integrated into a
practical application.

 C. Guidance Step 2B

  Having determined that the judicial exception is not integrated into a practical application, we next evaluate the
additional elements [*11] individually and in combination to determine whether they provide an inventive concept,
such as a specific limitation beyond the judicial exception that is not well-understood, routine, and conventional in
the field, or whether the claim simply appends well-understood, routine, conventional activities previously known to
the industry, specified at a high level of generality, to the judicial exception. See 2019 Revised Guidance, 84 Fed.
Reg. 51.

  Appellant asserts that the claims apply "blockchain technology in a novel way in order to monitor blockchain
assets and determine whether lapses have occurred based on criteria" and that "[t]his is not merely using a generic
computer to perform the unspecified alleged abstract idea" but, "[r]ather, this operation itself constitutes an
additional element that must be analyzed." Appeal Br. 35-36. Appellant acknowledges that "the computing systems
implementing the claimed invention may be conventional in some embodiments" but asserts that "what provides
substantially more than any alleged abstract idea is the claimed process." Id. at 36. According to Appellant, similar
to BASCOM Global Internet Services, Inc. v. AT&T Mobility LLC, AT&T Corp., 827 F.3d 1341 (Fed. Cir. 2016), "it
is the    process that Appellant is claiming" and "implementing a new process for tracking assets and lapses in a
blockchain" satisfies Alice and BASCOM. Id. at 36-38.
              Case 1:22-cv-08478-VSB Document 40-7 Filed 02/20/23 Page 7 of 8
                                                                                                         Page 6 of 7
                                           2020 Pat. App. LEXIS 7834, *11

  We are not persuaded by this argument. As found by the Examiner, in BASCOM, "the claims were held to be
patent-eligible because the claimed solution focused upon [*12] the specific asserted improvement in filtering
technology by providing individually customizable filtering at a remote ISP server by taking advantage of the
technical capability of certain communication networks." Ans. 5. Therefore, the invention in BASCOM "was a
technological solution to a technological problem, using an improved filtering technology rather than using
conventional filtering technology."   Id. Unlike the claims in   BASCOM, the current claims do not involve a
technological solution to a technological problem but "provide a generically computer-implemented solution to a
business-related or economic problem." Id.

  Appellant further asserts that the claims are similar to those found patent eligible in DDR Holdings, LLC v.
Hotels.com, L.P., 773 F.3d 1245 (Fed. Cir. 2014) because "the claimed invention is necessarily rooted in computer
technology" in that "the claims arise out of needs specific to computer-based systems that simply did not exist in the
pre-computer world" because "[i]t cannot be said that the blockchain existed prior to computers." Appeal Br. 38.
According to Appellant, "the claimed invention adds a specific limitation or combination of limitations that are not
well-understood, routine, conventional activity in the field, which is [*13] indicative that an inventive concept may be
present." Id. Specifically, Appellant asserts that the claims "are directed to tracking asset states in a blockchain
and determining whether certain requirement criteria are met in this blockchain, or whether they have lapsed." Id.
at 38-39

  We are not persuaded that this fact pattern is similar to that in DDR Holdings, LLC v. Hotels.com, L.P., 773 F.3d
1245, 1257 (Fed. Cir. 2014). DDR Holdings determined that the claims addressed the problem of retaining website
visitors who, if adhering to the routine, conventional functioning of Internet hyperlink protocol, would be transported
instantly away from a host's website after clicking on an advertisement and activating a hyperlink. DDR Holdings,
773 F.3d at 1257. The Federal Circuit, thus, held that the claims were directed to patent-eligible subject matter
because they claim a solution "necessarily rooted in computer technology in order to overcome a problem
specifically arising in the realm of computer networks." Id. While the instant claims concern transactions occurring
via computers, they merely apply generic computer technology to the fundamental economic practice of monitoring
an asset state to identify whether a lapse in the requirement criteria (e.g., buyer or producer preferences), has
occurred. Therefore, [*14] the only additional element in the claim, which is not part of the abstract idea itself, is
applying the abstract idea on a conventional computer.

  Instead, we find the claimed invention more akin to the claims in Ultramercial, Inc. v. Hulu, LLC, 772 F.3d 709,
714 (Fed. Cir. 2014) than those in DDR Holdings. In Ultramercial, the patentee argued that its claims were
"directed to a specific method of advertising and content distribution that was previously unknown and never
employed on the Internet before." Ultramercial, 772 F.3d at 714. However, Ultramercial found that the majority of
the steps were directed to the abstract idea of offering media content in exchange for viewing an advertisement,
and the "routine additional steps[,] such as updating an activity log, requiring a request from the consumer to view
the ad, restrictions on public access, and use of the Internet[,]" were insufficient to transform the patent-ineligible
abstract idea into patent-eligible subject matter. Id. at 715-16. Here, while the claims recite a specific abstract idea
for logging a transaction on a blockchain and monitoring a current asset state linked to the transaction, that idea
does not alter the computer itself in any structural way.

  Furthermore, Appellant did not direct us to anything in the Specification indicating that any [*15] additional steps
or components beyond the abstract idea recited in the claims are not generic or conventional. And we find the
Specification describes the use of conventional components. For example, the Specification describes that "various
types of processors" can be used. Spec. P 27. Similarly, a "computer program may be embodied on a computer
readable medium, such as a storage medium," which includes random access memory ("RAM"), flash memory,
hard disk, a compact disk read-only memory ("CD-ROM"), "or any other form of storage medium known in the art."
Id. P 21. The use of a generic computer to perform generic computer functions that are "well-understood, routine,
conventional activit[ies]" previously known in the industry is not enough to transform the abstract idea into a patent-
eligible invention. See Alice, 573 U.S. at 225-26.

  Accordingly, the preponderance of evidence of record supports the Examiner's finding that Appellant's claimed
invention is directed to patent-ineligible subject matter. The rejection of claim 1 under 35 U.S.C. § 101 is affirmed.
                Case 1:22-cv-08478-VSB Document 40-7 Filed 02/20/23 Page 8 of 8
                                                                                                           Page 7 of 7
                                                2020 Pat. App. LEXIS 7834, *15

Independent claims 8 and 15 suffer from the same deficiencies as claim 1 and we affirm the rejection of these
claims for the reasons discussed above. While Appellant argues that the Examiner did not provide analysis of the
dependent claims, Appellant did not provide any evidence as to why the additional elements of the dependent
claims render them eligible. Appeal Br. 40. Therefore, claims 2-7, 9-14, and 16-20 are [*16] not argued separately,
and fall with claims 1, 8, and 15. See 37 C.F.R. § 41.37(c)(1)(iv).

 CONCLUSION

 For the reasons described herein and those already of record, we affirm the Examiner's rejection of claims 1-20.

 DECISION SUMMARY

 In summary:

                    Claims          35 U.S.C.        Reference(s)/Basis              Affirmed   Reversed

                    Rejected        §
                    1-20            101              Eligibility                      1-20



 TIME PERIOD FOR RESPONSE

 No time period for taking any subsequent action in connection with this appeal may be extended under 37 C.F.R.
§ 1.136(a). See 37 C.F.R. § 1.136(a)(1)(iv).

 AFFIRMED


USPTO Bd of Patent Appeals & Interferences; Patent         Trial & Appeal Bd Decs.



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